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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CUSHMAN & WAKEFIELD, INC.,                            )
                                                      )
                Plaintiff,                            )
                                                      )            Case No. 14 C 8725
                v.                                    )
                                                      )            Judge Joan H. Lefkow
ILLINOIS NATIONAL INSURANCE                           )
COMPANY, ACE AMERICAN                                 )
INSURANCE COMPANY, LIBERTY                            )
MUTUAL INSURANCE COMPANY, and                         )
RLI INSURANCE COMPANY,                                )
                                                      )
                Defendants.                           )

                                       OPINION AND ORDER

        Cushman & Wakefield, Inc. (“Cushman”) filed a twelve-count complaint against Illinois

National Insurance Company (“Illinois National”), ACE American Insurance Company

(“ACE”), Liberty Mutual Insurance Company (“Liberty”), and RLI Insurance Company (“RLI”)

(collectively, “Defendants”) seeking a declaration of insurance coverage with respect to certain

underlying matters. 1 (Dkt. 1.) Cushman has also brought claims against Illinois National and

ACE for breach of contract and breach of the implied covenant of good faith and fair dealing,

some of which have been dismissed. 2 (Id.; dkt. 63.) Illinois National asserted twelve affirmative


        1
          The counts in the complaint include: count I, declaratory relief against Illinois National for
certain “underlying claims;” count II, declaratory relief against Illinois National for certain “other
claims;” count III, declaratory relief against ACE; count IV, declaratory relief against Liberty; count V,
declaratory relief against RLI; count VI, breach of contract against Illinois National as to the underlying
claims; count VII, breach of contract against Illinois National as to the other claims; count VIII, breach of
contract against Illinois National as to certain standstill agreements; count IX, breach of contract against
ACE as to the underlying claims; count X, breach of contract against ACE as to the standstill agreements;
count XI, breach of the implied covenant of good faith and fair dealing against Illinois National; and
count XII, breach of the implied covenant of good faith and fair dealing against ACE. (Dkt. 1.)
        2
           ACE moved to dismiss three of the four claims brought against it—count III for declaratory
relief, count IX for breach of contract, and count XII for breach of the implied covenant of good faith and
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defenses and counterclaimed for declaratory relief and recoupment. (Dkt. 84.) ACE similarly

asserted thirteen affirmative defenses and counterclaimed for recoupment. (Dkt. 115.) Liberty

and RLI also asserted certain affirmative defenses. (Dkts. 108, 112.) Defendants now move for

summary judgment in four separate motions, each seeking slightly different relief, as discussed

further below. (Dkts. 203, 207, 210, 220.) Cushman also moves for partial summary judgment

requesting entry of an order granting judgment in its favor as to counts I, III, IV, V, and VI and

dismissing the counterclaims and corresponding affirmative defenses filed by Illinois National

and ACE. (Dkt. 221.) 3 For the reasons stated below, Cushman’s motion for partial summary

judgment is granted in part and denied in part, Illinois National’s motion for partial summary

judgment is granted in part and denied in part, ACE’s motion for summary judgment is denied,

Liberty’s motion for summary judgment is denied, and RLI’s motion for summary judgment is

denied.




fair dealing. (Dkt. 63.) ACE also moved to strike Cushman’s request for consequential damages,
attorneys’ fees, and punitive damages. (Id.) The court dismissed without prejudice the portion of count III
directed at ACE’s indemnity obligation in connection with a pertinent case (the Gibson Action), but
otherwise denied the motion to dismiss as to count III. (Dkt. 109.) The court dismissed counts IX and XII
with prejudice and denied ACE’s motion to strike with respect to consequential damages in connection
with count X (the only remaining claim against ACE apart from count III) and granted the motion with
respect to attorneys’ fees in connection with count X. (Id.) Illinois National also filed a motion to dismiss
for lack of subject matter jurisdiction (dkt. 58), but the court denied the motion. (Dkt. 79.)
          3
         The court’s jurisdiction rests on 28 U.S.C. § 1332. Venue is proper pursuant to 28 U.S.C.
§ 1391(b).



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                                            BACKGROUND 4

I.       The Insurance Policies

         Cushman is the world’s largest privately held commercial real estate services firm,

offering, among other things, real estate appraisal services for a variety of property types. (Dkt.

225, Cushman’s Local Rule 56.1 Statement of Material Facts (“Cushman Stmt.”) ¶¶ 35–36.)

Between 2009 and 2013, Cushman purchased a series of real estate professional liability

insurance policies (collectively, the “Policies”) from Defendants. (Id. ¶ 1.) The Policies were

arranged in tiers, with each policy tier designed to kick in when the coverage provided by the

lower-tier insurance policy was exhausted. Nottingham Indemnity, Inc. (“Nottingham”),

Cushman’s primary insurer during this time period, provided an initial $2 million layer of

coverage subject to a $50,000 deductible pursuant to a series of nearly identical annual or bi-

annual policies (collectively, the “Nottingham Policies”). 5 (Id. ¶ 2.) Illinois National served as


         4
          Unless otherwise noted, the facts in this section are taken from the parties’ Local Rule 56.1
statements and are construed in the light most favorable to the non-moving party. The court cites to
Cushman’s statement of material facts where facts are relevant to all parties, and brings in Defendants’
statements where necessary to add to or clarify the factual record. The court will address many but not all
of the factual allegations in the parties’ submissions, as the court is “not bound to discuss in detail every
single factual allegation put forth at the summary judgment stage.” Omnicare, Inc. v. UnitedHealth Grp.,
Inc., 629 F.3d 697, 704 (7th Cir. 2011). In accordance with its regular practice, the court has considered
the parties’ objections to the statements of fact and includes in this background only those portions of the
statements and responses that are appropriately supported and relevant to the resolution of this motion.
Any facts that are not controverted as required by Local Rule 56.1 are deemed admitted.
         5
          These policies include, (1) Policy No. 437-1-09-PL01, which was in effect from May 31, 2009
to May 31, 2010 and provided $2 million in coverage, subject to a $50,000 deductible (the “2009-2010
Nottingham Policy”) (Dkt. 225, Pl. Ex. 1); (2) Policy No. 437-1-10-PL01, which was in effect from May
31, 2010 to May 31, 2011 and provided $2 million in coverage, subject to a $50,000 deductible (the
“2010-2011 Nottingham Policy”) (Id., Pl. Ex. 6); (3) Policy No. 437-1-11-PL01, which was in effect from
May 31, 2011 to October 21, 2011 and provided $2 million in coverage, subject to a $50,000 deductible
(the “2011-2012A Nottingham Policy”) (Id., Pl. Ex. 8A); (4) Policy No. 437-1-11-PL01, which was in
effect from October 21, 2011 to May 31, 2012 and provided $2 million in coverage, subject to a $50,000
deductible (the “2011-2012B Nottingham Policy”) (Id., Pl. Ex. 8B); and (5) Policy No. 437-1-12-PL01,
which was in effect from May 31, 2012 to June 30, 2013 and provided $2 million in coverage, subject to a
$50,000 deductible (the “2012-2013 Nottingham Policy”) (Id., Pl. Ex. 10.)



                                                      3
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Cushman’s first-level excess insurer between 2009 and 2013 and sold Cushman four insurance

policies during that time period (collectively, the “Illinois National Policies”). 6 (Id. ¶ 3.) The

Illinois National policies for the 2009–2010, 2010–2011, and 2011–2012 policy years each

provided $23 million in coverage for sums exceeding $2 million. The policy for 2012–2013

provided $15 million in coverage for sums exceeding $2 million. (Id.; Dkt. 225, Pl. Exs. 2, 7, 9,

11.) ACE served as Cushman’s second-level excess insurer for the 2009–2010 policy year and

sold Cushman Policy No. XEO G23658495 002 (the “ACE Policy”), which was in effect from

May 31, 2009 to May 31, 2010. (Cushman Stmt. ¶ 3; Dkt. 225, Pl. Ex. 3.) The ACE Policy

provided $10 million in coverage for sums exceeding $25 million. (Id.) Liberty and RLI served

as Cushman’s third-level insurers for the 2009–2010 policy year. Liberty sold Cushman Policy

No. EO5N454658004 (the “Liberty Policy”), which was in effect from May 31, 2009 to May 31,

2010. (Cushman Stmt. ¶ 3; Dkt. 225, Pl. Ex. 4.) Similarly, RLI sold Cushman Policy

No. EPG0009165 (the “RLI Policy”), which was in effect from May 31, 2009 to May 31, 2010.

(Cushman Stmt. ¶ 3; Dkt. 225, Pl. Ex. 5.) Both the Liberty Policy and the RLI Policy provided

$7.5 million in coverage for sums exceeding $35 million, for a total of $15 million in coverage.

(Cushman Stmt. ¶ 3; Dkt. 225, Pl. Exs. 4, 5.) The Cushman insurance tower for the 2009–2010

policy year is illustrated as follows 7:

        6
          These policies include, (1) Policy No. 01-911-84-71, which was in effect from May 31, 2009 to
May 31, 2010 and provided $23 million in coverage for sums exceeding $2 million (the “2009-2010
Illinois National Policy”) (Dkt. 225, Pl. Ex. 2); (2) Policy No. 01-877-33-21, which was in effect from
May 31, 2010 to May 31, 2011 and provided $23 million in coverage for sums exceeding $2 million (the
“2010-2011 Illinois National Policy”) (Id., Pl. Ex. 7); (3) Policy No. 01-880-59-08, which was in effect
from May 31, 2011 to June 30, 2012 and provided $23 million in coverage for sums exceeding $2 million
(the “2011-2012 Illinois National Policy”) (Id., Pl. Ex. 9); and (4) Policy No. 0230588092, which was in
effect from June 30, 2012 to August 31, 2013 and provided $15 million in coverage for sums exceeding
$2 million (the “2012-2013 Illinois National Policy”) (Id., Pl. Ex. 11.)
        7
         Cushman brought this action against Illinois National, ACE, RLI and Liberty under the 2009–
2010 policy year and Illinois National under the 2009–2013 policy years.


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                                                                          Coverage Amount for 2009–
      Level of Insurance                  Insurance Company
                                                                               2010 Policy Year

Primary Insurer                       Nottingham                         $2 million

                                                                         $23 million for sums exceeding
First-Level Excess Insurer            Illinois National
                                                                         $2 million

                                                                         $10 million for sums exceeding
Second-Level Excess Insurer           ACE
                                                                         $25 million

                                                                         $7.5 million for sums
Third-Level Excess Insurer            Liberty
                                                                         exceeding $35 million

                                                                         $7.5 million for sums
Third-Level Excess Insurer            RLI
                                                                         exceeding $35 million

        Nottingham agreed to indemnify Cushman for “all sums in excess of the Deductible

which the Insured shall become legally obligated to pay as Damages and Claims Expenses for

claims first made against the Insured during the Policy Period . . . as a result of a Wrongful Act

of the Insured . . . aris[ing] out of the rendering or failure to render Professional Services.”

(Cushman Stmt. ¶ 5; Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at § 1.) 8 Nottingham also agreed to defend

Cushman and provided that it had “the sole right to appoint counsel and the right and duty to

defend any Claim or Suit brought against the Insured seeking Damages on account of a

Wrongful Act even if such Claim or Suit is groundless, false or fraudulent.” 9 (Cushman Stmt.

        8
         Slight alterations to the quoted language appear in Pl. Exs. 8B and 10; these changes are
inconsequential to resolution of the instant motions.
        9
          With respect to defense obligations, the Illinois National Policies provided, “[t]he Insurer shall
have the right, in its sole discretion, but not the obligation, to associate effectively with the Company and
the Insureds in the defense and settlement of any Claim. . . .The Insurer does not assume any duty to
defend any Claim, unless the terms and conditions of the Followed Policy state otherwise, and in such
event only to the extent permitted or required by the terms of the Followed Policy.” (Cushman Stmt. ¶ 15,
Dkt. 225, Pl. Exs. 2, 7, 9, 11 at § VI.) The ACE policy provided, “[t]he Insurer shall have the right, but
not the duty, and shall be given the opportunity to effectively associate with the Insureds in the . . .
defense of any Claim even if the Underlying Limit has not been exhausted.” (Cushman Stmt. ¶ 15, Dkt.
225, Pl. Ex. 3 at § V(E).)



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¶ 14; Pl. Exs. 1, 6, 8A–B, 10 at § 2.) Further, the Nottingham Policies defined certain relevant

terms as follows 10:

        •    “Damages” means “[a]ny compensatory sum which an Insured is legally
             obligated to pay for any Claim” including judgments and settlements.
             (Cushman Stmt. ¶ 6; Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at Defin. 3.)

        •    “Claims Expenses” are expenses incurred in the “investigation, adjustment,
             negotiation, arbitration, defense and appeal of any Suit or Claims for
             Damages.” (Cushman Stmt. ¶ 7; Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at Defin. 2.)

        •    “Wrongful Act” means “[a]ny actual or alleged act, error or omission
             committed in connection with the conduct of the Insured’s Professional
             Services.” (Cushman Stmt. ¶ 8; Dkt. 225, Pl. Exs. 1, 6, 8A at Defin. 9.) 11

        •    “Professional Services” means “[a]ll services rendered or to be rendered by
             the Insured for or on behalf of customers or clients.” (Cushman Stmt. ¶ 10;
             Dkt. 225, Pl. Exs. 1, 6 at Defin. 6.) 12

        •    “Claim” means “[a] written demand for money or services naming any
             Insured and alleging a Wrongful Act to which this policy applies,” and “[f]or
             purposes of this definition, knowledge of a Claim or of a Wrongful Act that
             could reasonably be expected to result in a Claim shall mean knowledge by
             the General Counsel and Risk Manager of the Named Insured.” (Cushman
             Stmt. ¶ 12; Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at Defin. 1.) 13

Defendants’ Policies “follow[ed] form to” or adopted the terms and conditions of the

Nottingham Policy for its year, unless expressly stated otherwise. (Cushman Stmt. ¶ 4.)



        10
            Unless otherwise noted, the definitions are taken from the 2009-2010 Nottingham Policy given
that the terms at issue are materially identical in all four years.
        11
           “Wrongful Act” in the 2011-2012 and 2012-2013 Nottingham Policies was defined as “[a]ny
actual or alleged act, error or omission, breach of duty or event committed in connection with the conduct
of the Insured’s Professional Services.” (Cushman Stmt. ¶ 9; Dkt. 225, Pl. Exs. 8B, 10 at Defin. 11.)
        12
           “Professional Services” in the 2011-2012 and 2012-2013 Nottingham Policies was defined as
“all services rendered or to be rendered to by the Insured for or on behalf of third parties or that inure to
the benefit of the insured.” (Cushman Stmt. ¶ 11; Dkt. 225, Pl. Exs. 8A–B, 10 at Defin. 6.)
        13
         Slight alterations to the quoted language appear in Pl. Exs. 8B and 10; these changes are
inconsequential to resolution of the instant motions.



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        In addition to laying out indemnification and defense obligations, certain policies also

contained exclusions to coverage. Two such exclusions are relevant to the present case. The

first—Endorsement # 5, Section 1 (“Endorsement 5” 14) of the Illinois National Policies—states:

        This policy does not apply to any Claim alleging, arising out of, based upon,
        resulting from, directly or indirectly, or in any way involving . . . (a) the exercise
        of any authority or discretionary control by an Insured with respect to any client’s
        funds or accounts; (b) any actual or alleged commingling of funds or monies; (c)
        an Insured selecting an investment manager, investment advisory or custodial
        firm; (d) any Insured advising as to, promising or guaranteeing the future value of
        any investment or any rate of return or interest; or (e) the failure of any
        investment to perform as expected or desired. 15

(Id. ¶ 18; Dkt. 225, Pl. Exs. 2, 7, 9 at Endmt. 5; Pl. Ex. 11 at Endmt. 13.)

The second—the “Prior Knowledge Exclusion” to the Nottingham Policies—states:

        This Policy does not apply . . . to any Claim arising from any Wrongful Act
        committed prior to the beginning of the Policy Period, if on or before the
        inception date of this Policy any Insured knew of such Claim or the occurrence of
        a Wrongful Act that could reasonably be expected to result in such Claim.

(Cushman Stmt. ¶ 30; Dkt. 225, Pl. Exs. 1, 6 at Excl. 8; Pl. Exs. 8A–B, 10 at Excl. 7.)

        The Nottingham Policies and the Illinois National Policies also contained provisions

delineating when certain Wrongful Acts would be considered the same as or related to another

Wrongful Act (the “Related Wrongful Act Provisions”). The Nottingham Policies provide:




        14
            Cushman refers to Endorsement 5 as the Investment Advisor Exclusion, while Illinois National
refers to Endorsement 5 as the Miscellaneous Exclusion. The title of this endorsement is relevant to
resolution of the issues before the court, so the court refers to Endorsement 5 by its generic name, rather
than the titles provided by the parties. The court recognizes that the Illinois National Policies refer to this
endorsement as both Endorsement # 5 and the Miscellaneous Exclusions Endorsement. Further, any
mention of Endorsement 5 in this opinion refers to Endorsement 5, Section 1, unless otherwise noted.
        15
          This exclusion does not apply to Cushman &Wakefield Securities, Inc., a Cushman broker-
dealer subsidiary. (Cushman Stmt. ¶ 19; Dkt. 225, Pl. Exs. 2, 7, 9 at Endmt. 5; Pl. Ex. 11 at Endmt. 13.)



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        If additional Claims are subsequently made which arise ou[t] of the same
        Wrongful Act as Claims already made and reported to the Company, all such
        Claims, whenever made, shall be considered first made when the earliest Claim
        arising out of such Wrongful Act was made and all such Claims shall be subject
        to one such Limit of Liability.

        For purposes of the Limits of Liability, a series of continuous, repeated or
        interrelated Wrongful Acts shall be considered as one Wrongful Act.

(Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at Limits of Liability.) The Illinois National Policies also state:

        If during the Policy Period . . . (i) written notice of a Claim has been given to the
        Insurer . . . or (ii) . . . written notice of circumstances that may reasonably be
        expected to give rise to a Claim has been given to the Insurer, then any Claim that
        is subsequently made against the Insureds and reported to the Insurer alleging,
        arising out of, based upon or attributable to the facts alleged in the Claim or
        circumstances of which such notice has been given, or alleging any Wrongful Act
        which is the same as or related to any Wrongful Act alleged in the Claim or
        circumstances of which such notice has been given, shall be considered made at
        the time such Claim or circumstances has been given to the Insurer.

(Cushman Stmt. ¶ 31; Dkt. 225, Pl. Exs. 2, 7, 9, 11 at § V(b).)

II.     The Underlying Claims

        From 2004 to 2007, certain Credit Suisse AG entities (“Credit Suisse”) retained various

Cushman subsidiaries to perform real estate appraisals in connection with loans made to

developers of large, master-planned residential communities (“MPCs”). (Cushman Stmt. ¶¶ 38–

39.) In preparing the appraisals, Cushman used a Total Net Value (“TNV”) methodology. 16 (Id. ¶

40.) TVN is defined as “the sum of the market value of the bulk lots of the entire planned

community, as if all of the bulk lots were complete (in terms of backbone and infrastructure) and

available for sale to merchant builders, as of the date of the appraisal. . . . It does not reflect the

deduction for developers profit or the time value of money.” (Id. ¶ 44; See, e.g., Dkt. 225, Pl. Ex.

42 at 2.) Between 2008 and 2010, several of the loans went into default and lawsuits surrounding

the use of the TNV appraisal method were brought against Cushman, certain of its subsidiaries,

        16
             This methodology was later renamed the Total Net Proceeds methodology.


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and others. (Cushman Stmt. ¶¶ 67–68.) Cushman’s alleged role was to appraise the MPCs

improperly using the TNV definition, which resulted in a higher valuation than a more standard

“market value” appraisal. (Id. ¶ 73.) Credit Suisse could then allegedly earn fees by originating

and servicing large syndicated loans using the MPCs as collateral. (Id. ¶ 72.) The claims included

four specific claims (the “Underlying Claims”) as well as a handful of additional claims arising

out of the Credit Suisse appraisals (the “Other Claims”). (Id.) The Underlying Claims included

(1) a January 3, 2010 putative class action lawsuit filed in the District of Idaho on behalf of

property owners in various MPCs, Gibson v. Credit Suisse AG, No. 1:10-cv-00001 (the “Gibson

Action”) 17; (2) a November 2010 demand by a hedge fund that purchased shares of syndicated

loans Credit Suisse originated using the appraised properties as collateral (the “Highland

Demand”) 18; (3) a February 14, 2012 lawsuit filed in the District of Colorado by a shareholder in

a MPC developer, Blixseth v. Cushman & Wakefield of Colorado, Inc., No. 1:12-cv-00393 (the

“Blixseth Action”); and (4) a January 25, 2013 third-party lawsuit filed in the United States

Bankruptcy Court for the District of Nevada by a MPC developer, Rhodes v. Credit Suisse AG,

No. 2:12-cv-01272 (the “Rhodes Action”). (Id. ¶¶ 67–71, 75; Dkt. 225, Pl. Exs. 12, 16, 19, 23.)

       More specifically, plaintiffs in the Gibson Action are individuals and entities that

purchased homes or lots at four MPCs: Lake Las Vegas, Yellowstone Club, Tamarack, and Ginn

sur Mer. (Dkt. 208, Illinois National’s Local Rule 56.1 Statement of Material Facts (“Illinois

National Stmt.”) ¶ 26.) Timothy Blixseth, founder; manager; and developer of Yellowstone, filed




       17
           The Fifth Amended Complaint is the operative complaint in the Gibson Action. (See Dkt. 225,
Pl. Ex. 14.)
       18
            This demand did not result in the filing of a lawsuit against Cushman or its subsidiaries.



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the Blixseth Action. 19 (Id. ¶ 47.) The Highland Demand involved plaintiffs whose claims arose

out of loans involving, among others, Yellowstone Club, Ginn Clubs & Resorts, and Rhodes

Ranch. (Id. ¶ 37.) Finally, the Rhodes Action was brought by certain borrowers, including

Rhodes Ranch. Not only did the Underlying Claims involve overlapping properties, but all

Underlying Claims also alleged that Credit Suisse and Cushman conspired to intentionally

overvalue the MPCs so Credit Suisse could generate fees and that the TNV appraisals were

inherently misleading. (Id. ¶ 55; Cushman Stmt. ¶¶ 72–73.) Plaintiffs in the Gibson Action

claimed that the alleged scheme began at Lake Las Vegas and was repeated at various properties

around the country. (Dkt. 225, Pl. Ex. 14 ¶ 53.)

        The court in the Gibson Action granted Cushman’s motion for summary judgment and

dismissed the case with prejudice as to Cushman. (Cushman Stmt. ¶ 83; Dkt. 225, Pl. Ex. 15.)

Plaintiffs appealed to the Ninth Circuit and the case was argued on February 9, 2018. See Gibson

v. Credit Suisse Group Securities, No. 16-35705 (9th Cir. Aug. 29, 2016). The parties await a

decision from the appellate court. The court in the Blixseth Action dismissed the case in a

decision subsequently upheld by the Tenth Circuit. (Cushman Stmt. ¶ 86; Dkt. 225, Pl. Exs. 17–

18.) The Highland Demand was settled for $12 million while the Rhodes Action was settled for

$362,500. (Cushman Stmt. ¶ 87; Dkt. 225, Pl. Exs. 22, 24.)

III.    Notice of and Communications Related to the Underlying Claims

        A.      The Gibson Action

        Cushman provided notice to Defendants of the Gibson Action on January 12, 2010,

during the 2009–2010 policy period. (Cushman Stmt. ¶ 90; Dkt. 225, Pl. Ex. 45.) After receiving

notice, Illinois National sent Cushman a reservation of rights letter on February 9, 2010,

        19
           On July 22, 2011, Blixseth attempted to intervene in the Gibson Action, but the motion for
intervention was denied. (Id. ¶¶ 42, 44, 46.)


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accepting the Gibson Action as a Claim under the 2009-2010 Illinois National Policy. (Cushman

Stmt. ¶ 91; Dkt. 225, Pl. Ex. 46.) The letter also contained the following statement: “This letter is

not, and should not be construed as a waiver of any terms, conditions, exclusions or other

provisions of the [Illinois National] Policy, or any other policies of insurance issued by Illinois

National or any of its affiliates.” (Dkt. 225, Pl. Ex. 46.)

        B.      The Highland Demand

        In October 2010, Cushman advised Illinois National of claims alleged by Highland

Capital in an email noting that Cushman was providing some “supplemental information related

to the L.J. Gibson and Beau Blixseth legal action.” (Cushman Stmt. ¶ 90, Dkt. 225, Pl. Ex. 47;

Illinois National Stmt. ¶ 64.) On October 7, 2010, Cushman’s Risk Manager emailed Cushman’s

broker and informed her that since the Highland matter “is directly related to the Credit Swiss

[sic] claim reported to underwriters in the 2009-2010 policy year, please treat the Highland

Capital matter as a continuation of the same claim and report to the underwriters under the 2009-

2010 program.” (Illinois National Stmt. ¶ 65; Dkt. 209, Illinois National Ex. FF.) Cushman also

reached out to Illinois National in March 2011 to confirm that its insurers agreed that the

Highland matter should be treated as related to the Gibson Action, and Cushman explained to

Illinois National in April 2011:

        The Highland Capital claim was categorized as a subset of the Credit Suisse claim
        because its genesis is [] many of the same loans made by Credit Suisse based
        upon the appraisal work performed by [Cushman], all at issue in the Gibson
        lawsuit. Highland Capital funds were members of the syndicates established by
        Credit Suisse in connection with the syndication of the various resort loans.

(Illinois National Stmt. ¶¶ 68–70; Dkt. 209, Illinois National Exs. GG, HH, II.) Cushman and

Highland also entered into a tolling agreement in 2010 in an attempt to find an amicable

resolution and avoid litigation; this agreement was terminated on June 11, 2013. (Illinois



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National Stmt. ¶¶ 35–36, 95; Dkt. 209, Illinois National Ex. QQ.) Just before this termination,

Cushman’s loss run (as of May 31, 2013) listed the Gibson Action, the Highland Demand, and

the Blixseth Action under the 2009–2010 policy year, and bracketed the three matters together.

(Illinois National Stmt. ¶ 103; Dkt. 209, Illinois National Ex. UU.) Similarly, on June 14, 2013,

Cushman asked that the insurers be notified that the “Highland Capital claim, reported in the

2009/2010 claim year,” was no longer dormant and that Highland Capital affirmatively stated it

would bring suit against Cushman. (Illinois National Stmt. ¶ 100; Dkt. 209, Illinois National Ex.

TT.) The email also asked that notice to the insurer be provided “for that particular claim year.”

(Id.) But by July 23, 2013, Cushman asserted, “[U]pon reviewing the Highland lawsuits and

other documents, we noted numerous distinguishing characteristics of Highland’s claims as

compared to Gibson/Blixseth’s claims that lead us to believe that the claims should be paid out

of the 2010/11 claim year based on the timing of Highland’s notice of the claims to

[Cushman].” 20 (Illinois National Stmt. ¶ 99; Dkt. 209, Illinois National Ex. SS.)

       C.      The Blixseth Action

       Cushman also put Illinois National on notice of Timothy Blixseth’s intervening

complaint in the Gibson Action on July 25, 2011, noting that the “factual background for the new

complaint is substantively identical to that of the existing Gibson action.” (Illinois National Stmt.

¶ 43; Dkt. 209, Illinois National Ex. W.) On April 24, 2012, Cushman’s risk management

department asked that the insurers be put on notice of the Blixseth Action and advised that it “is

related to the Gibson/Credit Suisse claim filed in the 2009–2010 year.” (Illinois National Stmt. ¶

73, Dkt. 209, Illinois National Ex. JJ.)



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        In or around May 2013 in a series of letters and emails, Cushman began disagreeing that the
TNV appraisals related back to the 2009–2010 policy year. (See Dkt. 278 ¶ 11.)


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       D.      The Notice of Circumstances and Supplemental Reservation of Rights

       In June 2012, approximately two years after receiving notice of the Gibson Action,

Illinois National requested that Cushman provide it with a notice of circumstances (“NOC”) for

all other TNV appraisals. (Cushman Stmt. ¶ 95; Dkt. 225, Pl. Ex. 50.) Cushman sent a NOC

letter on June 28, 2012, which attached a list of appraisals done using the TNV method of which

Cushman was aware and stated that with regard to future claims based on TNV appraisals, “to

the extent a ‘Claim’ is ultimately made against the ‘Insureds’ for an alleged ‘Wrongful Act’ as

discussed below, you shall treat the ‘Claim’ as having been made during the currency of policy

no. 01-880-59-08 for the 2011–2012 policy year.” (Cushman Stmt. ¶ 95; Dkt. 225, Pl. Ex. 51.)

Illinois National acknowledged receipt of the NOC on July 9, 2012, and provided an initial

coverage position, reserving rights under the 2011–2012 Illinois National Policy. (Cushman

Stmt. ¶ 96; Dkt. 225, Pl. Ex. 52.)

       On August 7, 2012, Illinois National issued a supplemental reservation of rights letter,

which pointed out potential defenses based on Endorsement 5, the Prior Knowledge Exclusion,

and fortuity. (Cushman Stmt. ¶ 99; Dkt. 225, Pl. Ex. 53.) The letter also asserted that the

Underlying Claims all related to the Gibson Action, and thus fell within coverage of the 2009–

2010 Policies, “because the appraisals performed on the four MPC projects all used the [TNV]

method.” (Cushman Stmt. ¶ 102; Dkt. 225, Pl. Ex. 53 at 5.) In November 2012, Illinois National

further notified Cushman that any appraisal listed in the NOC would be deemed to fall under the

2009–2010 policy period, and that the 2011–2012 claim file would be closed. (Cushman Stmt. ¶

106; Dkt. 225, Pl. Ex. 54.) On May 21, 2013, Cushman sent a letter to Illinois National stating

that it disagreed with Illinois National’s conclusion that “all claims which may be made in the

future that claim some damages resulting from Total Net Value Appraisals are related to the



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Gibson class action suit and the Blixseth suit and should be considered as one claim under the

2009-2010 policy.” (Dkt. 225, Pl. Ex. 57.) On January 24, 2014, Illinois National again issued a

supplemental reservation of rights letter, stating that it had “discovered” additional factual bases

for its assertion that coverage for the Underlying Claims was barred by the Prior Knowledge

Exclusion and/or because they were “fortuitous.” (Id.¶ 112; Dkt. 225, Pl. Ex. 64.)

       D.      The Rhodes Action

       Meanwhile, on April 1, 2013, Cushman gave notice of the Rhodes claim. (Cushman Stmt.

¶ 107; Dkt. 225, Pl. Ex. 55.) On April 7, 2013, Illinois National acknowledged receipt of the

notice of claim, citing to the 2012–2013 Illinois National Policy. (Cushman Stmt. ¶ 107; Dkt.

225, Pl. Ex. 56.) Four months later, on July 26, 2013, Illinois National determined that “[u]pon

further review of the Rhodes Complaint,” it related to the Gibson Action, and thus would be

considered under the 2009–2010 policy year. (Cushman Stmt. ¶ 108; Dkt. 225, Pl. Ex. 59.)

IV.    The Standstill Agreement

       On April 14, 2014, Cushman, Illinois National, and ACE entered into a Standstill

Agreement in an effort to secure payment for the Highland and Rhodes settlements and to ensure

that defense costs for the Gibson and Blixseth Actions would continue to be paid. (Cushman

Stmt. ¶ 136; Dkt. 225, Pl. Ex. 69.) Illinois National and ACE agreed to equally split the ongoing

defense costs related to the Underlying Claims, Illinois National agreed to fund the Rhodes

settlement for $362,500, and Illinois National and ACE agreed to fund the Highland settlement,

with Illinois National paying $10 million and ACE paying $2 million. (Id.) The parties agreed to

table an ongoing issue of whether Illinois National and ACE had any rights to recoupment.

(Cushman Stmt. ¶ 136–37; Dkt. 225, Pl. Ex. 69.) To date, Illinois National has paid more than

$26 million and ACE has paid more than $7 million in defense and indemnity payments for the



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Underlying Claims. (Cushman Stmt. ¶¶ 88–89; Dkt. 225, Pl. Exs. 70–71.)

V.     Overview of the Motions for Summary Judgment

       Defendants and Cushman have each filed separate motions for summary judgment. Given

the complexity and disparate nature of the relief sought by the parties, the details of each motion

are outlined below.

       A.      Illinois National’s Motion for Summary Judgment

       Illinois National asks the court to declare that Endorsement 5 of the Illinois National

Policies and the Prior Knowledge Exclusion of the Nottingham Policies apply to preclude all

coverage under the Illinois National Policies for the Underlying Claims, and to grant judgment in

its favor on Illinois National’s counterclaim for recoupment of all defense costs and indemnity

payments in an amount to be determined by the court. (Dkt. 207.) In the alternative, Illinois

National seeks a declaration that the Blixseth Action, the Highland Demand, and the Rhodes

Action are related to the Gibson Action, which would trigger only the 2009–2010 Illinois

National Policy, and asks the court to order Cushman to reimburse Illinois National for all

payments of defense costs and indemnity in excess of the $23 million Illinois National limit. (Id.)

In the second alternative, Illinois National asks the court to find and declare that Endorsement 5

and the Prior Knowledge Exclusion apply to exclude coverage for the Blixseth Action, the

Highland Demand, and the Rhodes Action under the 2011, 2012, and 2013 Illinois National

Policies, and order that Cushman reimburse Illinois National for all payments of defense costs

and indemnity paid for the Blixseth Action, the Highland Demand, and the Rhodes Action. (Id.)

       B.      ACE’s Motion for Summary Judgment

       ACE moves for summary judgment on count III (declaratory relief against ACE), asking

the court to declare that the ACE Policy does not provide coverage for the matters described in



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the Complaint. (Dkt. 210.) Unlike Illinois National, ACE contends that the Blixseth Action, the

Highland Demand, and the Rhodes Action are not related to the Gibson Action. In other words,

each action triggers coverage under a separate policy year and the ACE Policy is not triggered

because the primary and first-insurer policies have not been exhausted. (Dkt. 213.) ACE further

argues that the ACE Policy has not been triggered because all loss arising from the Gibson

Action, the Blixseth Action, and the Rhodes Action is precluded by Endorsement 5. (Id.) ACE

also moves for summary judgment on count X (breach of contract against ACE as it pertains to

the Standstill Agreement) under the theory that Cushman has failed to establish damages

attributable to ACE. (Id.) Finally, ACE asks the court to grant judgment on its counterclaim for

recoupment of amounts advanced pursuant to the Standstill Agreement because, according to

ACE, the ACE Policy has not been triggered. (Id.)

        C.      Liberty Mutual’s Motion for Summary Judgment

        Like ACE, Liberty Mutual requests a declaration that each of the Underlying Claims is

covered under a separate policy year because, among other reasons, the Blixseth Action, the

Highland Demand, and the Rhodes Action are not related to the Gibson Action. Such a

declaration would mean that the Liberty Policy is not triggered because the primary, first-insurer

and second-insurer policies have not been exhausted. Liberty Mutual also contends that no policy

exclusions apply to preclude coverage of the Underlying Claims.

        D.      RLI’s Motion for Summary Judgment

        RLI does not ask the court to determine whether the Underlying Claims are related. 21

Instead, it seeks a declaration that Endorsement 5 precludes coverage for the Highland Demand.

If true, even if the Underlying Claims are related, the RLI Policy would not be triggered.

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           RLI notes it does not dispute the position that the Underlying Claims are unrelated and
constitute claims made within different policy years.


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       E.      Cushman’s Motion for Summary Judgment

       Cushman moves for partial summary judgment in its favor as to counts I, III, IV, V, and

VI and as to the counterclaims and corresponding affirmative defenses filed by Illinois National

and ACE. As to count I—declaratory relief against Illinois National—Cushman asks for a

declaration against Illinois National that: (1) the Underlying Claims are covered by the Policies;

(2) no exclusions apply to preclude coverage for any of the Underlying Claims; (3) the Highland

Demand is not related to the Gibson Action, the Blixseth Action, or the Rhodes Action; and (4)

Illinois National may not seek reimbursement of any amounts it has paid or in the future will pay

under any of the Illinois National Policies for any of the Underlying Claims. In counts III, IV,

and V, Cushman seeks declarations against ACE, Liberty, and RLI, respectively, that if the

Underlying Claims are related and thus trigger only the 2009–2010 policy year, ACE, Liberty,

and RLI must pay under the triggered 2009–2010 policies all amounts incurred in connection

with the Underlying Claims that are in excess of the 2009–2010 Illinois National Policy (as to

ACE) and the 2009–2010 ACE Policy (as to Liberty and RLI), up to their respective policy

limits. Cushman also asks the court to declare that no exclusions apply to preclude coverage for

any of the Underlying Claims with respect to these counts. In count VI, Cushman seeks to

recover damages from Illinois National for breach of contract as to the Underlying Claims.

Finally, Cushman seeks a declaratory judgment that Illinois National and ACE are not entitled to

recoupment.

                                      LEGAL STANDARD

       Summary judgment obviates the need for a trial where there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a). A genuine issue of material fact exists if “the evidence is such that a reasonable jury could



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return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,

106 S. Ct. 2505 (1986). To determine whether any genuine fact issue exists, the court must

pierce the pleadings and assess the proof as presented in depositions, answers to interrogatories,

admissions, and affidavits that are part of the record. Fed. R. Civ. P. 56(c). In doing so, the court

must view the facts in the light most favorable to the non-moving party and draw all reasonable

inferences in that party’s favor. Scott v. Harris, 550 U.S. 372, 378, 127 S. Ct. 1769 (2007).

       The party seeking summary judgment bears the initial burden of proving there is no

genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548

(1986). In response, “[a] party who bears the burden of proof on a particular issue may not rest

on its pleadings, but must affirmatively demonstrate, by specific factual allegations, that there is

a genuine issue of material fact which requires trial.” Day v. N. Ind. Pub. Serv. Co., 987 F. Supp.

1105, 1109 (N.D. Ind. 1997); see also Insolia v. Philip Morris Inc., 216 F.3d 596, 598 (7th Cir.

2000). If a claim or defense is factually unsupported, it should be disposed of on summary

judgment. Celotex, 477 U.S. at 323–24. “The interpretation of an insurance policy is a question

of law that is an appropriate subject for disposition by way of summary judgment.” Jupiter

Aluminum Corp. v. Home Ins. Co., 225 F.3d 868, 873 (7th Cir. 2000).

                                           ANALYSIS

       Although each party makes slightly different arguments, there are three primary issues at

play: (1) whether a policy exclusion precludes coverage for one or more of the Underlying

Claims; (2) whether the Underlying Claims are related, triggering only the 2009–2010 Illinois

National Policy, or whether one or more of the Underlying Claims sits within a different policy

year; and (3) whether Illinois National and/or ACE are entitled to recoupment or reimbursement.

The court will address each of these issues in turn, but first turns to choice of law.



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I.      Choice of Law

        At first blush, the parties appear to agree that New York law applies to the interpretation

of the Policies. Cushman, Illinois National, ACE, and RLI agree that New York law should

govern, and Liberty did not address choice of law in its motion for summary judgment. Given

that “we forego choice of law analysis when the parties agree on the law that governs a dispute

and there is a reasonable relation between the dispute and the forum whose law has been

selected,” the court could simply apply New York law. Home Valu, Inc. v. Pep Boys, 213 F.3d

960, 963 (7th Cir. 2000). Liberty, however, asserts for the first time in its response to the parties’

motions for summary judgment that Illinois law should govern questions of policy

interpretation. 22 (See Dkt. 262 at 2–5.) The court thus undertakes a choice of law analysis.

        Federal courts sitting in diversity apply the choice-of-law rules of the forum state, in this

case Illinois. Hinc v. Lime-O-Sol Co., 382 F.3d 716, 719 (7th Cir. 2004). Under Illinois law, a

choice of law analysis is “required only when a difference in law will make a difference in the

outcome.” Townsend v. Sears, Roebuck & Co., 879 N.E.2d 893, 898, 227 Ill.2d 147, 316 Ill.

Dec. 505 (Ill. 2007). “The party seeking the choice-of-law determination bears the burden of

demonstrating a conflict.” Bridgeview Health Care Ctr., Ltd. v. State Farm Fire & Cas. Co., 10

N.E.3d 902, 905, 2014 IL 116389, 381 Ill. Dec. 493 (Ill. 2014). Illinois National identifies one

such conflict—Illinois law does not generally recognize a right of recoupment of defense costs
        22
            Having not addressed the choice of law issue in its opening brief, Liberty asserts for the first
time in its response to the parties’ motions for summary judgment that Illinois law should govern
questions of policy interpretation. (See Dkt. 262 at 2–5.) Liberty points out that Cushman, ACE, and RLI
identify no conflict between Illinois and New York law. (Id. at 2.) With regard to the conflict identified
by Illinois National, Liberty argues on one hand that “Illinois follows the doctrine of depecage, which
refers to the process of cutting up a case into individual issues, each subject to a separate choice-of-law
analysis,” and on the other that where “remedial issues are so bound up with substantive issues [] they
ought to be decided according to the same law that governs the substantive issues.” (Id. at 2, 4–5.) The
court agrees that resolution of the right of recoupment issues is bound up with resolution of the other
matters at issue and thus will apply the law governing the substantive issues, which, as identified in the
body of this opinion, is New York law.


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while New York does. Compare Gen. Agents Ins. Co. of Am., Inc. v. Midwest Sporting Goods

Co., 828 N.E.2d 1092, 1102, 215 Ill.2d 146, 293 Ill. Dec. 594 (Ill. 2005) with United Specialty

Ins. Co. v. CDC Hous., Inc., 233 F. Supp. 3d 408 (S.D.N.Y. 2017).

        When an insurance policy lacks a choice of law provision, Illinois courts employ a “most

significant contacts” test to determine the governing substantive law for the contract. Jupiter

Aluminum Corp. v. Home Ins. Co., 225 F.3d 868, 873 (7th Cir. 2000). Under this test, Illinois

courts consider “the location of the subject matter, the place of delivery of the contract, the

domicile of the insured or the insurer, the place of the last act to give rise to a valid contract, the

place of performance, or other place bearing a rational relationship to the general contract.”

Lapham-Hickey Steel Corp. v. Protection Mut. Ins. Co., 655 N.E.2d 842, 845, 166 Ill.2d 520,

211 Ill. Dec. 459 (Ill. 1995). Some courts have placed particular emphasis on “the law of the

State where the policy was issued or delivered or [] the law of the place of the last act to give rise

to a valid contract.” See, e.g., United States Fire Ins. Co. v. CNA Ins. Cos., 572 N.E.2d 1124,

1127, 213 Ill. App.3d 568, 157 Ill. Dec. 660 (Ill. 1991). Further, the location of the subject matter

of the contract, such as the location of the risk insured by an insurance policy, is entitled to little

weight when the subject matter of the risk is located in more than one state. Jupiter Aluminum

Corp., 225 F.3d at 873–74 (7th Cir. 2000).

        Here, Cushman is a corporation organized under the laws of New York, with its principal

place of business in New York. The Policies were all addressed and delivered to Cushman’s

headquarters in New York. Further, the 2009–2010 and 2010–2011 Policies were negotiated by

Cushman’s insurance broker out of their offices in New York and both Illinois National and

ACE issued their policies from offices in New York. The policies cover nationwide risks and

thus given the aforementioned facts, New York bears a strong rational relationship to the general



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contract. The court will therefore apply New York law.

II.    Insurance Policy Interpretation

       Under New York law, the interpretation of a contract “is a matter of law for the court to

decide.” Int’l Multifoods Corp. v. Commercial Union Ins. Co., 309 F.3d 76, 83 (2d Cir. 2002).

An insurance policy, like any contract, must be construed to effectuate the intent of the parties as

derived from the plain meaning of the policy’s terms. See Breed v. Ins. Co. of N. Am., 385

N.E.2d 1280, 1282 (N.Y. 1978). If the language of the insurance contract is unambiguous, the

court applies its terms. Andy Warhol Found. for Visual Arts, Inc. v. Fed. Ins. Co., 189 F.3d 208,

215 (2d Cir. 1999). Where its terms are reasonably susceptible to more than one interpretation,

the policy must be regarded as ambiguous. See Haber v. St. Paul Guardian Ins. Co., 137 F.3d

691, 695 (2d Cir. 1998). “When a court decides, after examination of the contractual language,

that an insurance policy is ambiguous, it looks outside the policy to extrinsic evidence, if any, to

ascertain the intent of the parties.” Andy Warhol, 189 F.3d at 215. If the ambiguities cannot be

resolved by examining the parties’ intentions, the court may apply other rules of contract

construction, including the rule that ambiguities in the policy should be construed in favor of the

insured, because as the drafter of the policy the insurer is responsible for the ambiguity. Morgan

Stanley Group Inc. v. New Eng. Ins. Co., 225 F.3d 270, 275–76 (2d Cir. 2000). This rule is

especially applicable where the ambiguity appears in a clause excluding coverage. Breed, 385

N.E.2d at 1284. In order to “negate coverage by virtue of an exclusion, an insurer must establish

that the exclusion is stated in clear and unmistakable language, is subject to no other reasonable

interpretation, and applies in the particular case.” Belt Painting Corp. v. TIG Ins. Co., 795

N.E.2d 15, 17 (N.Y. 2003). Policy exclusions are “given a strict and narrow construction, with

any ambiguity resolved against the insurer.” Id. While the insured bears the burden of



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establishing coverage, the insurer bears the burden of establishing the applicability of exclusions.

See Consol. Edison Co. of N.Y. v. Allstate Ins. Co., 774 N.E.2d 687, 98 N.Y.2d 208, 218 (N.Y.

2002); AGCS Marine Ins. Co. v. World Fuel Servs., Inc., 187 F. Supp. 3d 428, 438 (S.D.N.Y.

2016).

III.     The Exclusions

         A.        Endorsement 5

         The parties argue differing interpretations of Endorsement 5 of the Illinois National

2009–2010 Policy. The terms of a contract are clear and unambiguous when the language used

has a definite and precise meaning and there is no reasonable basis for a difference of opinion.

Fernandez v. Price, 880 N.Y.S.2d 169, 172 (N.Y. App. Div. 2009). Conversely, contract

language is ambiguous when it is reasonably susceptible to more than one interpretation,

and extrinsic or parol evidence may then be permitted to determine the parties’ intent as to the

meaning of that language. Id. Here, two reasonable interpretations exist. Illinois National refers

only to parts (d) and (e) of Endorsement 5 and argues that the undefined term “investment” as

used in that endorsement must be given the dictionary definition of the term and thus applies to

real estate appraisals. 23 (See, e.g., Dkt. 209 at 25–26 (citing Merriam-Webster Dictionary

definition of “investment” as “the outlay of money usually for income or profit: capital outlay;

also: the sum invested or the property purchased.”)). 24 Cushman, in contrast, argues that


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              ACE and RLI make similar arguments, while Liberty maintains that no policy exclusions
apply.
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          RLI relies on a handful of cases in an attempt to demonstrate that the word “investment,” is
unambiguous. See Taylor v. Bar Plan Mut. Ins. Co., 457 S.W.3d 340 (Mo. 2015); Centerboard Sec., LLC
v. Benefuel, Inc., No. 3:15-CV-2611-G, 2017 WL 273881 (N.D. Tex. Jan. 20, 2017); Jasco Tools, Inc. v.
Am. Mfrs. Mut. Ins. Co., 673 N.Y.S.2d 864 (N.Y. Sup. Ct. 1998). None of these cases contain contractual
language directly parallel to the language at issue nor are they factually on all fours with the present case.
Thus, given the fact-intensive nature of the determination at hand, these cases are inapplicable.



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“investment” cannot be read in a vacuum and when viewed in context of subsections (a)–(c), the

endorsement was intended to preclude coverage only for securities-related activities typically

undertaken by investment advisors. Given that “single clauses cannot be construed by taking

them out of their context,” there are two reasonable interpretations of the endorsement. 25 GMAC

Commercial Fin., LLC v. Ahn, No. 600673-2009, 2011 WL 2449024, at *3 (N.Y. Sup. Ct. June

15, 2011). The court thus looks to relevant extrinsic evidence to determine the parties’ intent as

to the meaning of the language in Endorsement 5. Both parties present a multitude of parol

evidence; the court considers all such evidence presented but discusses only the most pertinent

evidence below.

        First, Illinois National has submitted regulatory filings in several states, which include an

“Investment Advisor Exclusion,” featuring nearly identical language to the exclusion at issue

here. 26 (See Dkt. 225, Pl. Exs. 39–41.) In certain of those filings, the purpose of the exclusion is

described as excluding Claims “arising from wrongful acts while providing professional services

as an investment advisor,” or from “professional services provided by an investment advisor.”

(Dkt. 225, Pl. Exs. 40–41.) Illinois National hangs its hat on the fact that in contrast to those


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          Illinois National’s broad interpretation of “investment” in the context of Endorsement 5,
Section 1(e), which precludes coverage for “any Claim alleging, arising out of, based upon, resulting
from, directly or indirectly, or in any way involving . . . the failure of any investment to perform as
expected or desired,” could render the provision illusory. (Dkt. 225, Pl. Ex. 2 at Endorsement 5, Section
1(e).) Such a reading creates ambiguity as it would essentially eliminate coverage for all Claims brought
in connection with Cushman’s appraisal business, including Claims brought by plaintiffs who objected to
how Cushman appraised the value of commercial property, regardless of the appraisal method used. The
court cannot accept an interpretation that would render superfluous the provision of coverage. See Nat’l
Union Fire Ins. Co. v. Am. Re-Ins. Co., 351 F. Supp. 2d 201, 210 (S.D.N.Y. 2005) (finding ambiguity
where a literal reading would be “limitless” and lead to an “absurd and unreasonable result”).
        26
          Illinois National notes that although it contains identical language, the regulatory filing in New
York is a directors & officers’ policy, rather than a professional liability policy, and that the Illinois
regulatory filing contains additional language distinct from that in the policy at issue. The court takes
these observations into account but notes that these differences are not dispositive given the overlapping
language at issue.


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filings, Endorsement 5 is titled “Miscellaneous Exclusions Endorsement,” rather than

“Investment Advisor Exclusion.” This is simply a distraction. Unlike the stand-alone exclusions

in the regulatory filings, Endorsement 5 contains additional exclusions grouped under a single

endorsement. As Illinois National’s underwriter explained, Endorsement 5 is “a list of typical

exclusions . . . that aren’t contained in the Nottingham policy.” (Dkt. 225, Pl. Ex. 82 at 130:13–

16.) Given that Illinois National presents the relevant exclusionary language to its regulators in

multiple states as an exclusion pertaining to investment advisor activities, it is likely that the

same interpretation governs here.

        Second, Cushman’s insurance industry custom and practice expert Tom Baker asserts that

“under the custom and practice in the liability insurance market, the exclusion would apply only

to claims that arise when a real estate company decides to dabble in the kinds of activities that

are conducted by investment advisors, not to claims that arise when the company engages in its

core real estate professional activities, such as conducting property appraisals.” 27 (Dkt. 225, Pl.

Ex. 90 ¶¶ 65–67.) Further, Illinois National’s underwriter testified that Endorsement 5, Section

1(a)–(e) is a “series of exclusions around investment activity,” that the exclusions are

“commonly used” and “should be used in any policy where we think an insured . . . can be giving

investment advice, that they can be guaranteeing the future value, comingling of funds,” and that

“we’re definitely not covering things an investment advisor would do.” (Dkt. 225, Pl. Ex. 82 at

131:3–132:18.) Despite Illinois National’s contention to the contrary, this testimony does not

indicate that Endorsement 5 pertains to activities other than those performed by an investment

advisor.


        27
          This court previously ruled that paragraphs 65–67 of Tom Baker’s expert report (dkt. 225, Pl.
Ex. 90) are appropriate expert opinions and admissible. (Dkt. 351 at 5.)



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        Third, Illinois National points to the fact that plaintiffs in the Underlying Claims referred

to their involvement with the relevant properties as “investments.” Such a reference, however,

does not lead to the conclusion that this is the type of investment contemplated by the language

of Endorsement 5.

        Given the aforementioned evidence, the court finds that, to the extent they argue for

application of Endorsement 5, the insurers have not met their burden. They have failed to

“establish that the exclusion is stated in clear and unmistakable language,” and have not shown

that “it is subject to no other reasonable interpretation, and applies in the [present] case.” Belt

Painting, 795 N.E.2d at 17. Moreover, policy exclusions are “given a strict and narrow

construction, with any ambiguity resolved against the insurer.” 28 Id. Under these principles, as a

matter of law and undisputed fact Endorsement 5 does not bar coverage for the Underlying

Claims.

        B.      Prior Knowledge Exclusion

        Illinois National also argues that the Prior Knowledge Exclusion in the Nottingham

Policies, to which the Illinois National Policies follow form, bars coverage for the Underlying

Claims. No other insurer contends that this exclusion applies. In evaluating prior knowledge

exclusions, New York courts employ a two-pronged test, “first consider[ing] the subjective

knowledge of the insured and then the objective understanding of a reasonable [person] with that

knowledge.” Liberty Ins. Underwriters, Inc. v. Corpina Piergrossi Overzat & Klar LLP, 913

N.Y.S.2d 31, 33 (N.Y. App. Div. 2010); see also J.P. Morgan Sec. Inc. v. Vigilant Ins. Co., 51

        28
          RLI argues that the contra proferentem doctrine (construing an ambiguity against the insurer)
does not apply here because the parties are of equal bargaining power and Cushman was involved in
negotiating the policy and the inclusion of exclusions. There is no evidence that Cushman was involved in
negotiations related to Endorsement 5. The evidence RLI presents is inapposite; it relates to an exclusion
in the 2012–2013 policy year surrounding the exclusion of TNV appraisals.



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N.Y.S.3d 369, 382 (N.Y. Sup. Ct. 2017). The burden is on the insurer to show the applicability

of the known-claims exclusion. Id. More specifically, Illinois National must show (1) that

Cushman subjectively knew that a Wrongful Act occurred prior to the policy’s effective date,

and (2) that a reasonable person with knowledge of the relevant facts might expect those facts to

be the basis of a claim. Illinois National has not met its burden.

        As a threshold issue, the parties disagree about whose knowledge is at issue. The

Nottingham Policies state that they do not apply “[t]o any Claim arising from any Wrongful Act

committed prior to the beginning of the Policy Period, if on or before the inception date of this

Policy any Insured knew of such Claim 29 or the occurrence of a Wrongful Act that could

reasonably be expected to result in such Claim.” (Cushman Stmt. ¶ 30; Dkt. 225, Pl. Exs. 1, 6 at

Excl. 8; Pl. Exs. 8A–B, 10 at Excl. 7.) (emphasis added). Illinois National looks solely to the

language of the exclusion and contends that the knowledge of “any Insured” governs. Cushman,

on the other hand, points to the definition of “Claim”—“knowledge of a Claim or of a Wrongful

Act that could reasonably be expected to result in a Claim shall mean knowledge by the General

Counsel or Risk Manager of the Named Insured”—and reads the exclusion language to include

only the knowledge of Cushman’s General Counsel or Risk Manager. (See Cushman Stmt. ¶ 12;

Dkt. 225, Pl. Exs. 1, 6, 8A–B, 10 at Defin. 1.) The plain language of the Prior Knowledge

Exclusion makes clear that the knowledge of any Insured—defined as “any former, current, or

future partner, shareholder, officer, director or employee of the Insured, while acting on behalf of

        29
          Cushman and Illinois National present differing interpretations of which claims are at issue
under the Prior Knowledge Exclusion. Cushman contends that the exclusion can be triggered only by
prior knowledge of the specific Claim or underlying plaintiffs to which it relates. In other words, what
should be considered is whether Cushman knew the TNV appraisals were Wrongful Acts likely to result
in the Underlying Claims. Illinois National, in contrast, asserts that the exclusion bars coverage where
Cushman had knowledge of a Wrongful Act and the Wrongful Act could reasonably be expected to result
in a Claim. Given that Illinois National has not met its burden even under the broader view of the claims
applicable under the exception, the court need not reach this issue.


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the Insured, in connection with the rendering of Professional Services”—is applicable.

       Even applying the more expansive view of whose knowledge is at play, Illinois National

has not shown that the Prior Knowledge Exclusion bars coverage for the Underlying Claims.

Illinois National argues that Cushman appraisers knew as far back as 2006 that issuing TNV

appraisals was inherently misleading and might result in claims of professional malpractice or

misfeasance, but it submits no persuasive evidence to substantiate its assertion. It points to the

fact that Cushman changed the name of the appraisal method from Total Net Value to Total Net

Proceeds but ignores the October 6, 2006 internal memo from Brian Curry, the individual who

ordered the name change, that this was apparently done to “standardize the term and definition

for use in our reports,” (Dkt. 209, Illinois National Ex. NN) and his testimony that replacing

“value” with “proceeds” was a personal preference. (Dkt. 225, Pl. Ex. 78 at 166:10–17.)

Appraiser Michael Miller added that he believed Curry changed the name because “the word

‘value’ did not accurately represent the new type of analysis.” (Dkt. 209, Illinois National Ex.

MM ¶ 15.) Illinois National also contends that Cushman appraisers began taking issue with

conducting TNV appraisals as far back as 2006, pointing to an affidavit by Miller, which states,

       The appraisers who were introduced to the new valuation premise questioned the
       authenticity of this new “valuation premise.” As is typical in a non-conforming
       assignment and typical of large institutional firms . . . executive compliance
       managers discussed with the appraisers the premise, compliance, and the ability
       for [Cushman] appraisers to perform these types of appraisals. . . .
       [N]otwithstanding that the appraisals did not report market values, the parties in
       the process [were] aware market value was not being reported and it was
       explicitly stated in the appraisals that the value conclusions did not reflect market
       value.

       Because the valuation amounts being put on these new appraisal reports were
       significantly higher than market value, concern as to liability and the compliance
       approval required under FIRREA and USPAP was obviously present.

(Id. ¶¶ 12, 18.) But this ignores Miller’s testimony that after meeting with Credit Suisse about



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such issues, he “walked away feeling comfortable that everything was being done properly and

these projects could continue forward.” (Dkt. 225, Pl. Ex. 76 at 127:10–12.) He also testified that

Cushman was “bound by the Uniform Standards of Professional Appraisal Practice [“USPAP”],

and we could not find anything under that state or federal regulation that we adhered to that

violated those requirements on appraisal.” (Dkt. 225, Pl. Ex. 73 at 116:4–12.)

       True, appraisers may have had concerns, but this does not mean they knew issuing TNV

appraisals was inherently misleading, nor that a reasonable person with knowledge of the facts

surrounding these appraisals might expect such activity to be the basis of a claim. To the

contrary, Miller’s concerns were assuaged after speaking to Credit Suisse, and there was no

indication that Cushman was violating any USPAP requirements. Indeed, “mere knowledge of

‘some consequences’ of an act is inconsequential, which, standing alone, would not provide a

reasonable basis [for] the insured to believe that it had committed a wrongful act that foreseeably

will result in a claim.” J.P. Morgan, 51 N.Y.S.3d at 383; see also Title Indus. Assur. Co. v. First

Am. Title Ins. Co., 853 F.3d 876, 885–86 (7th Cir. 2017) (“[m]ere suspicion of questionable

transactions does not trigger the prior knowledge provision”). Under these facts, the Prior

Knowledge Exclusion does not bar coverage for the Underlying Claims.

       As a fallback, Illinois National argues that at a minimum, the Prior Knowledge Exclusion

should bar coverage for the Highland Demand and the Blixseth and Rhodes Actions because each

of those actions followed the first-filed Gibson Action. Given that the Gibson Action alleges that

not only property owners but also developers and others were damaged, Illinois National

contends that Cushman could reasonably expect that developers and non-insider note holders

would bring a claim against it, which they did in the later-filed actions. But as the court in

Gibson explained when it dismissed the claims against Cushman, the appraiser did not owe a



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duty to unrelated parties not mentioned in the appraisals. 30 Thus, it does not follow that Cushman

would have expected lawsuits from third parties to which it owed no duty. The Prior Knowledge

Exclusion is thus inapplicable.

IV.     Related Claims

        A.      The Related Wrongful Act Provisions

        Having disposed of the exclusion issues, the court must next determine whether certain

Related Wrongful Act Provisions apply such that the Underlying Claims are treated as though

they were made during the 2009–2010 policy year. Illinois National argues that because the

Underlying Claims are related, only the 2009–2010 policy is triggered, while Cushman and the

other defendants contend, often for differing reasons, that the Underlying Claims trigger the

policies in the policy year in which the specific claim was made.

        The Policies generally provide coverage for claims that are first made against the insured

during the policy period and reported in writing to the insurer. The parties do not dispute that the

four Underlying Claims fall within the definition of “Claim” provided in the Nottingham Policies

and incorporated into the Illinois National Policies, nor that each Underlying Claim arose and

was reported during separate, consecutive policy years. Instead, Illinois National argues that all

Underlying Claims should be deemed related to the first-filed Gibson Action and treated as a

single claim under the 2009–2010 Illinois National Policy pursuant to the Related Wrongful Act

Provisions in the Nottingham and Illinois National Policies. The 2009–2010 Nottingham Policy

Limits of Liability provide, in relevant part:

        If additional Claims are subsequently made which arise our [sic] of the same

        30
           More specifically, the court stated, “[p]laintiffs have not presented any authority or argument
showing Defendants owned a duty to Plaintiffs to use reasonable care in conducting the appraisals. For
these reasons, the court finds neither FIRREA nor USPAP imposed a duty of care on Defendants in favor
of Plaintiffs.” (Dkt. 225, Pl. Ex. 15 at *39.)


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        Wrongful Act as Claims already made and reported to the Company, all such
        Claims, whenever made, shall be considered first made when the earliest Claim
        arising out of such Wrongful Act was first made and all such Claims shall be
        subject to one such Limit of Liability. 31

        For purposes of the Limits of Liability, a series of continuous, repeated or
        interrelated Wrongful Acts shall be considered as one Wrongful Act.

(Dkt. 225; Pl. Ex. 1) (emphasis added). The 2009–2010 Illinois National Policy similarly

provides:

        [A]ny Claim that is subsequently made against the Insureds and reported to the
        Insurer alleging, arising out of, based upon or attributable to the facts alleged in
        the Claim or circumstances of which such notice has been given, 32 or alleging any
        Wrongful Act which is the same as or related to any Wrongful Act alleged in the
        Claim or circumstances of which such notice has been given, shall be considered
        made at the time such Claim or circumstances has been given to the Insurer.

(Dkt. 225, Pl. Ex. 2) (emphasis added).

        B.      Ambiguity of the Provisions

        As a preliminary matter, Cushman contends that the terms “related” and “interrelated”

are ambiguous where, as here, they are undefined. “That the Policy does not have a specific


        31
            ACE contends that the relevant inquiry “is whether the Highland, Blixseth, or Rhodes Claims
arise out of the same Wrongful Act as Gibson,” because “the 2009 Nottingham Policy permits relation
only where the Wrongful Act is the same.” (Dkt. 213 at 10, 11–13.) This is so, ACE argues, because the
later “interrelated Wrongful Acts” language in the 2009 Nottingham Policy “protects the aggregate limits
of the policy by establishing a rule for batching together related Wrongful Acts” and thus “the policy
creates a higher hurdle for deeming a claim made during the policy period than it does for batching
together Wrongful Acts for purpose of the aggregate limits.” (Dkt. 328 at 10–11.) This interpretation is
belied by the plain language of the policy. The “interrelated Wrongful Acts” language begins with the
phrase “For purposes of Limits of Liability,” which implies that the language following that phrase
applies to the entire “Limits of Liability” section of the policy, not, as ACE contends, that “there is no
basis to read the later provision into the earlier provision.” Given the “interrelated Wrongful Acts”
language, ACE’s arguments related to the Illinois National Policy providing broader coverage than the
Nottingham Policy also fail.
        32
           Although Liberty analyzes both the “facts alleged” clause and the “wrongful act alleged”
clauses of the Illinois National Policy, the court need not reach the “facts alleged” clause to resolve the
related claims issue and thus focuses its analysis only on the “wrongful act alleged” clause in the 2009–
2010 Illinois National Policy.



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definition of the phrase ‘related wrongful acts’ does not itself render that phrase ambiguous.

Rather, the Court asks whether the words are, in the context of the Policy, open to differing but

reasonable interpretations.” 33 Dormitory Auth. of New York v. Cont’l Cas. Co., No. 12 civ. 281,

2013 WL 840633, at *7 (S.D.N.Y. Mar. 5, 2013), aff’d in part, vacated in part, 756 F.3d 166 (2d

Cir. 2014). Here, Cushman’s bald assertion that the terms “related” and “interrelated” are

ambiguous simply because they are undefined fails. The parties have not presented differing but

reasonable interpretations of these words, and “[n]othing in the [policies] or the record of this

case suggests that the phrase ‘related to’ has been or should be given special meaning.” Id. at *8.

Thus, the court finds the language at issue unambiguous.

        C.      Effectiveness of 2009-2010 Illinois National Policy

        Liberty also raises a threshold issue—whether the Related Wrongful Act Provision in the

2009–2010 Illinois National policy was effective when the Highland, Blixseth, and Rhodes

Claims were made. 34 Liberty contends that because the 2010–2011 Illinois National Policy states

that it is a “replacement” of the 2009–2010 policy, while the 2012–2013 Illinois National Policy

states that it is a “renewal” of the 2011–2012 Illinois National Policy, the 2009–2010 policy,

including its Related Wrongful Act Provision, had been “replaced” and was therefore ineffective

at the time the Highland, Blixseth, and Rhodes Claims were made. Both Liberty and Illinois

National agree that the ordinary meaning of “replacement” is “a . . . thing that replaces . . .

something else,” and that the definition of “replace” is to “serve as a substitute for or successor

        33
          Courts interpreting similar provisions do not seem to agree whether “related” and “interrelated”
are unambiguous. See Dormitory Auth. of New York, 2013 WL 840633, at *7 (collecting cases and noting
that some find the relevant terms ambiguous while others determine such terms are unambiguous).
        34
           Liberty also contends that the court should find that the Highland Demand, the Blixseth Action,
and the Rhodes Action are covered under two separate policy years (i.e. the 2009–2010 policy as well as
the policy year in which each Claim was made and reported). Liberty provides no support for this
contention and the court finds no support in the record otherwise.


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of.” (Dkt. 204 at 14; dkt. 268 at 26, citing Merriam-Webster Dictionary). Even if the 2009–2010

policy was “replaced,” it does not follow that the Related Wrongful Act Provision of that policy

is nullified or rendered ineffective. Indeed, that provision specifically contemplates that claims

made and reported after the policy year at issue may be implicated. Further, as Liberty pointed

out in Liberty Mut. Ins. Co. v. Treesdale, Inc., 418 F.3d 330, 343 (3d Cir. 2005), “in common

sense parlance, ‘renewal’ and ‘replacement’ mean essentially the same thing . . . Black’s Law

Dictionary . . . defines ‘renew’ as including ‘to replace.’” 35

        D.      Relatedness of the Claims

        Courts interpreting policies with similar provisions have explained that “[t]o establish

that a prior Claim is interrelated with a subsequent Claim, the Claims must share a ‘sufficient

factual nexus.’” 36 Quanta Lines Ins. Co. v. Investors Capital Corp., No. 06 Civ. 4624, 2009 WL

4884096, at *14 (S.D.N.Y. Dec. 17, 2009); accord Nomura Holding America, Inc. v. Federal

Ins. Co., 45 F. Supp. 3d 354, 370–71 (S.D.N.Y. 2014). “A sufficient factual nexus exists where

the Claims ‘are neither factually nor legally distinct, but instead arise from common facts’ and

where the ‘logically connected facts and circumstances demonstrate a factual nexus’ among the

Claims.” Quanta Lines, 2009 WL 4884096, at *14 (quoting Seneca Ins. Co. v. Kempter Ins. Co.,


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           Although Illinois National’s arguments related to extrinsic evidence are similarly persuasive
(see dkt. 268 at 26–27), the court need not reach these arguments given the unambiguous nature of the
terms at issue.
        36
            Cushman and Liberty argue that reliance on the factual nexus test is “misplaced” given that
some courts applying the test dealt with specific definitions of “Related Claims” found in the policies at
issue or different policy language altogether. (Dkt. 278 at 41; Dkt. 310 at 14.) True, the factual nexus test
has been applied to varying types of policy language, some of which is similar to that in the present case.
Thus, the factual nexus test is appropriate given the relevant policy language at issue. Further, use of the
factual nexus test is also supported by the distinction drawn by the Second Circuit in Nomura Holding
Am., Inc. v. Fed. Ins. Co., 629 F. App’x 38 (2d Cir. 2015). There, the court explained that the factual
nexus test need not be applied where “Related Claims” was defined in the policy at issue. It follows that
the test is presumably most applicable where, as here, such a phrase is not defined.



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No. 02 Civ. 10088, 2004 WL 1445830, at *8–9 (S.D.N.Y. May 21, 2004)). To demonstrate a

sufficient factual nexus, the claims need not “involve precisely the same parties, legal theories,

Wrongful Acts, or requests for relief.” Zunenshine v. Exec. Risk Indem. Inc., No. 97 Civ. 5525,

1998 WL 483475, at *5 (S.D.N.Y. Aug. 17, 1998).

        Courts have found a sufficient factual nexus after conducting a side-by-side review of the

factual allegations in the relevant complaints where the claims at issue had specific overlapping

facts. 37 See, e.g., Nomura, 45 F. Supp. 3d at 370–71 (S.D.N.Y. 2014) (finding “the relevant

complaints contain overlapping (and frequently identical) factual allegations, arising from

strikingly similar circumstances, alleging similar claims for relief” where plaintiffs in all actions

alleged they relied on certain misstatements in offering documents and registration statements

filed in connection with various RMBS offerings between 2005 and 2007); Quanta Lines, 2009

WL 4884096, at *14–15 (concluding that sufficient factual nexus existed between claims

accusing directors of failure to supervise the same representative’s sale of the same unregistered

securities); Zahler v. Twin City Fire Ins. Co., No. 04 Civ. 10299, 2006 WL 846352, at *6

(S.D.N.Y. Mar. 31, 2009) (“[a] side-by-side review of the Securities Complaint and ERISA

Complaint reveals that the facts alleged in the two actions are in many cases identical”);

Seneca, 2004 WL 1145830, at *9 (finding a factual nexus where the claims shared “numerous

logically connected facts and circumstances”); Zunenshine, 1998 WL 483475, at *5 (finding a

“strong factual nexus” where both lawsuits alleged “four of the same six plaintiffs made virtually

        37
           The parties on both sides cite numerous cases in support of their positions as to whether the
Underlying Claims are in fact related. The court notes that there appears to be some inconsistency in the
case law surrounding “related claims.” See John Zulkey, Related Acts Provisions: Patterns Amidst the
Chaos, 50 VAL. U. L. REV. 633, 636 (2016) (surveying “related claims” cases and noting that “an
imaginative attorney can scour up any number of factors that unite or divide the claims at issue, but the
challenge is finding binding or persuasive decisions stating that those factors are decisive”). For this
reason, the court has surveyed the relevant New York cases and analogized the facts of those cases to the
present case to help guide its determination on this issue.


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identical false statements in reports, press releases, and other public statements” during the same

time period).

        Similarly, the Underlying Claims at issue contain overlapping factual allegations and

arise from strikingly similar circumstances. They involve the same alleged course of conduct,

during the same time period, and involve many of the same MPCs. Specifically, plaintiffs in the

Underlying Claims each allege they were harmed in connection with appraisals done using the

Total Net Value methodology, which were misleading and artificially inflated the value of high-

end properties, to the benefit of Credit Suisse and Cushman. This is much more than a “tenuous

factual overlap.” See Glascoff v. OneBeacon Midwest Ins. Co., No. 13 Civ. 1013, 2014 WL

1876984, at *6 (S.D.N.Y. May 8, 2014) (finding no factual nexus because “the factual overlap

between the two Claims [was] tenuous at best” where first complaint alleged board members

failed in their control and oversight of CEO and second complaint alleged board failed to

investigate allegations of CEO’s misconduct). 38 Contrary to various arguments by Cushman,

ACE and Liberty, the claims need not involve “precisely the same parties, legal theories,

Wrongful Acts, or requests for relief.” 39 Zunenshine, 1998 WL 483475, at *5. Indeed, although


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           The factual nexus in the present case is much stronger than the other cases on which Cushman
relies. See Home Ins. Co. of Ill. (New Hampshire) v. Spectrum Info. Techs., Inc., 930 F. Supp. 825, 848
(E.D.N.Y. 1996) (concluding that wrongful acts were not “the same as, interrelated to, a continuation of,
or repetitious of” those in the original claim because the first wrongful act reported—misstatements
regarding a licensing agreement—represented a distinct act of wrongdoing from other wrongs alleged—
misstatements regarding earnings, trading based on material nonpublic information, and failure to disclose
a related SEC inquiry); Nat’l Union Fire Ins. Co. of Pittsburgh v. Ambassador Grp., Inc., 691 F. Supp.
618, 623–24 (E.D.N.Y. 1988) (concluding four claims against insured directors did not arise out of the
“same or interrelated acts” because they were “legally distinct claims that alleged different wrongs to
different people” where one alleged violations for failing to disclose information, another alleged
negligent mismanagement and breach of fiduciary duties through misstatements in annual statements,
another alleged inducement based on reliance on false financial statements, and the last alleged
mismanagement of a subsidiary company).
        39
          Cushman and ACE contend that while the Gibson Action complained about the TNV method,
the Highland Demand alleged that Cushman plugged bad data into the TNV method and thus the


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differently situated, plaintiffs in the Underlying Claims appear to be various players affected by

the alleged scheme—property owners in MPCs, an owner and manager of an MPC, an MPC

developer, and a hedge fund that owned MPC debt. Plaintiffs in the original Gibson Action

recognized these players, alleging that not only property owners but developers and others were

affected by the alleged scheme.

        That many of the same properties and appraisals were at issue in the Underlying Claims

further demonstrates the factual nexus. The Gibson Action was brought on behalf of persons and

entities that purchased property and homes in four MPCs—Lake Las Vegas, Yellowstone Club,

Tamarack, and Ginn Sur Mer; the Blixseth Action was brought by the owner and manager of

Yellowstone Club; 40 the Highland Demand involved plaintiffs whose claims arose out of loans

involving, among others, Yellowstone Club, Ginn Clubs & Resorts, and Rhodes Ranch; and the

Rhodes Action was brought by certain borrowers, including Rhodes Ranch. Indeed, plaintiffs in

the Gibson Action specifically pointed out that the alleged scheme began at Lake Las Vegas and

was repeated at various properties around the country:

        Having perfected the appraisal and lending scheme on Lake Las Vegas, the co-
        conspirators, Credit Suisse and Cushman embarked on a plan to employ these
        same tactics . . . at each MPC thereafter at Tamarack, Yellowstone Club, Ginn sur

Highland Demand is not related to the Gibson Action. (Dkt. 221 at 40; Dkt. 210 at 14.) To the contrary,
Highland’s mediation statement specifically states that Cushman’s “appraisers knew that the Total Net
Value methodology did not reflect accepted industry standards or definitions,” and that “[i]n addition to
using the aberrant methodology, [Cushman] also adopted unsupported and unreasonable assumptions and
projections in its appraisal.” (Dkt. 225, Pl. Ex. 21 at 4–5.) Contrary to Cushman’s contention that the
Highland Demand involved different wrongs, the mediation statement also makes clear that Highland’s
claims “arise[] out of a series of appraisals C&W issued that purported to value five high-end residential
and resort developments,” that certain funds managed by Highland “rel[ied] upon C&W’s appraisals”
when investing in the subject loans, and that “C&W’s appraisals grossly overvalued the Developments
and, as a result, the Subject Loans were severely under-collateralized.” (Id. at 1–2.)
        40
            The plaintiff in the Blixseth Action was also the sole shareholder of Blixseth Group, Inc., which
owned all of the “A” voting shares of the Yellowstone Mountain Club, LLC, which owned the real estate
that the allegedly fraudulent appraisal were purportedly based on. (Dkt. 225, Pl. Ex. 16 ¶ 24.)



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        Mer and others with the exact same predictable and foreseeable result: default and
        bankruptcies with the loss of contractual amenities, clubs and land values at
        eighty (80%) percent or more.

(Dkt. 225, Pl. Ex. 14 ¶ 53.) Cushman is right to point out that each appraisal was a different work

product, providing a unique valuation analysis and conclusion by a different Cushman employee.

Certain appraisals, however, were at issue in multiple cases (e.g. the appraisal for Yellowstone

Club was implicated in the Gibson Action, the Highland Demand, and Blixseth Action) and the

unique appraisals were produced using the same allegedly misleading TNV appraisal method.

The claims are unmistakably based on much more than a “tenuous . . . factual overlap.” See

Glascoff, 2014 WL 187684, at *6. 41

IV.     Recoupment Counterclaims

        Both Illinois National and ACE brought counterclaims for recoupment of certain defense

costs and money spent in settling certain of the Underlying Claims. Since neither Endorsement 5

nor the Prior Knowledge Exclusion bars coverage, the counterclaims for recoupment must be

denied. Given that the Underlying Claims are related, however, Illinois National is entitled to

reimbursement of amounts 42 paid in excess of Illinois National’s limit of $23 million for the

2009–2010 policy year. The Nottingham Policy provides, in relevant part:

        If the Company has paid any amount in settlement or satisfaction of Claim or

        41
           Cushman and Illinois National present differing views of their treatment of the claims as
“related” during the 2009–2013 time period. Illinois National maintains that Cushman referred to the
Highland Demand and the Gibson Action as related from the beginning but changed course when it
realized that the potential exposure from the Underlying Claims might exceed the policy limits of one
policy period. Cushman, on the other hand, argues that Illinois National initially took the position that
TNV claims were not all related but has now changed course to argue that the Underlying Claims are
related. As both sides have shifted positions, these arguments add little to the determination at hand.
        42
          “Amounts” refers to that which is contained in Clause 8 of the 2009–2010 Nottingham Policy.
At the time it filed its answer (dkt. 84), Illinois National asserted that it had expended in excess of $27
million under the 2009–2010 Illinois National Policy and has since stated that this amount continues to
increase as it advances payments on the Gibson appeal.



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       judgments or Claims Expenses in excess of the Limits of Liability or within the
       amount of the Deductible, the Insured shall be liable to the Company for such
       amounts and, upon demand, shall promptly pay such amount to the Company. 43

(Dkt. 225, Pl. Ex. 1 at Clause 8.) Further, because the Underlying Claims are related, ACE,

Liberty and RLI must pay, to the extent the ACE, Liberty, and RLI 2009–2010 Policies are

triggered, all amounts incurred in connection with each Underlying Claim that are in excess of

the 2009–2010 Illinois National Policy (as to ACE) and the 2009–2010 ACE Policy (as to

Liberty and RLI), up to their respective policies’ limits.

V.     Breach of Contract Claims

       Counts VI and VII allege that Illinois National breached its obligations by failing and

refusing to provide unqualified and timely coverage to Cushman for each of the Underlying

Claims and certain Other Claims (as defined in the Complaint) under the Illinois National policy

in effect at the time each such Claim was first made against Cushman. (Dkt. ¶¶ 111, 118.) Illinois

National argues that count VI should be dismissed, while Cushman asks the court to enter

judgment in its favor as to count VI. Illinois National contends that count VI should be dismissed

because Cushman does not specify which provision, if any, Illinois National breached. True, the

court previously dismissed count IX on this basis but determined that its own examination of the

ACE Policy did not reveal violation of a specific provision. Here Cushman presents no

additional evidence apart from the allegations in its complaint and that evaluated by the court in

its analysis of the declaratory judgment claims above. This does not raise a triable issue of fact

and Illinois National’s motion for summary judgment as to count VI is thus granted and




       43
            Cushman agrees that pursuant to Clause 8 of the Nottingham Policy, reimbursement “provides
the right to recover sums paid in excess of policy limits for allowed claims.” (Dkt. 346 at 28.)



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Cushman’s motion is denied. 44

        With respect to count VII, the parties have not briefed issues related to the Other Claims.

Cushman has not moved for summary judgment on them, and Illinois National’s motion does not

substantively address the Other Claims. As the Other Claims raise issues not addressed by the

motions before the court, Illinois National’s motion for summary judgment is denied as to count

VII. 45 MPM Silicones, LLC v. Union Carbide Corp., No. 111-cv-1542, 2016 WL 3962630, at

*35 (N.D.N.Y. July 7, 2016) (denying summary judgment because “[t]he Court need not decide

issues that are not adequately briefed”).

        Counts VIII and X 46 allege that Illinois National and ACE breached their obligations

under the Standstill Agreement, which all parties agree requires Illinois National and ACE to

each pay 50% of the defense costs for the Underlying Claims. Cushman contends that Illinois

National and/or ACE have failed to pay $155,047.60 of defense costs incurred by Perkins Coie,

local counsel in certain of the Underlying Claims. Illinois National counters that it has paid its

50% with the exception of a May 31, 2017 invoice, 50% of which it intends to pay in ordinary

course. Although Illinois National seems to have made a good faith effort to pay its 50% share,




        44
          Illinois National argues in its memorandum of law that counts VI, VII, VIII, and XI should be
dismissed but does not specifically seek dismissal of the claims in its motion. Given that Illinois
National’s motion is styled as a “Motion for Partial Summary Judgment,” the court assumes Illinois
National moves for summary judgment as to counts VI, VII, VIII, and XI.
        45
           Cushman notes that Berger v. Cushman & Wakefield of Pa, Inc., No. 2:13-cv-05195 (E.D. Pa.
Sept. 5, 2013) is the only Other Claim pending, and that Illinois National does not argue that
Endorsement 5 or the Prior Knowledge Exclusion apply, but instead contends that Exclusion 1 (barring
coverage for fraud) applies.
        46
           This court previously granted ACE’s motion to strike “to the extent Cushman seeks attorney’s
fees in connection with count X.” (Dkt. 109.)



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there appear to be some discrepancies in the amounts paid and the amounts owed. 47

        ACE contends that Cushman has failed to meet its burden to show any consequential

damages or, if Cushman seeks to recover only unpaid defense costs for ACE’s breach of the

Standstill Agreement, count X is duplicative of count III and must therefore be dismissed. Count

X is not duplicative of count III as count III seeks declaratory relief in connection with the 2009–

2010 ACE Policy while count X seeks damages for breach of the Standstill Agreement. It also

appears that ACE has not made any payments on the relevant Standstill Agreement invoices.

(See Dkt. 278-1 ¶ 12; Dkt. 278, Pl. Exs. 98–99.) Further, Illinois National and ACE apparently

dispute the commencement date of ACE’s agreement to pay 50% of Cushman’s defense

expenses pursuant to the Standstill Agreement. These are disputes of fact. Given the record

before the court, a reasonable jury could find for Cushman, and thus summary judgment is

denied as to counts VIII and X.

        Finally, count XI alleges that Illinois National breached the implied covenant of good

faith and fair dealing by, among other things, (a) asserting that the Underlying Claims fall within

the 2009–2010 Illinois National Policy; (b) asserting inapplicable and insupportable defenses to

coverage and threatening that it might not choose to renew coverage with Cushman in an effort

to compel Cushman to acceded to the treatment of the Underlying Claims as related claims all

falling under the 2009–2010 policy year; (c) demanding that Cushman agree to grant it a right of

recoupment; (d) taking inconsistent positions with respect to the scope and meaning of various


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           For example, the June 21, 2013 invoice is for $91,986.54. Illinois National’s 50% share
amounts to $45,993.27, but Illinois National paid $45,934.75, approximately $58.52 less than its share.
Similarly, the April 3, 2014 invoice is for $77,225.96. Illinois National’s 50% share amounts to
$38,612.98, but Illinois National paid $38,554.00, approximately $58.98 less than its share. Although
there may be a reasonable explanation for the discrepancies, the court has not been presented with any
such evidence. Further, Illinois National submitted its reply brief on September 15, 2017, several months
after the May 31, 2017 invoice was issued.


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policy terms and exclusions, as well as which Illinois National Policies are trigged by each of the

Underlying Claims; (e) unreasonably delaying payment and/or refusing payment for the Other

Claims; and/or (f) demanding documents and/or information as a prerequisite to payments under

the Standstill Agreements. (Dkt. 1 ¶ 141.) New York law recognizes that the implied covenant of

good faith and fair dealing in an insurance contract encompasses the insurer’s duty to investigate

in good faith and pay covered claims. Bi-Econ. Mkt., Inc. v. Harleysville Ins. Co. of N.Y., 886

N.E.2d 127, 131 (N.Y. 2008). Yet there remains a strong presumption “against a finding of bad

faith liability by an insurer,” and “[t]he presumption against bad faith liability can be rebutted

only by evidence establishing that the insurer’s refusal to defend was based on more than an

arguable difference of opinion and exhibited a gross disregard for its policy obligations.” Hugo

Boss Fashions, Inc. v. Fed. Ins. Co., 252 F.3d 608, 625 (2d Cir. 2001). The court finds no such

evidence here. Many of the allegations are based on a mere difference of opinion. To the extent

they are not, there is no evidence that Illinois National exhibited gross disregard for its policy

obligations. To the contrary, even while coverage was in dispute, Illinois National has continued

to pay defense costs and agreed to fund $10 million to settle the Highland claim. Thus, Illinois

National’s motion for summary judgment as to count XI is granted, to the extent this count

relates to the Underlying Claims. This count survives as it relates to the Other Claims for the

reasons stated above in relation to count VII.

VI.     Affirmative Defenses

        Cushman also requests that the court dismiss any affirmative defenses filed by Illinois

National and ACE that correspond to counts I, III, IV, V, and IV. 48 All such affirmative



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          Cushman does not identify which affirmative defenses “correspond” to counts I, III, IV, V, and
IV. Based on the courts review of all affirmative defenses, the court assumes that Illinois National’s


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defenses, except Illinois National’s ninth defense and ACE’s twelfth defense, as they relate to the

Underlying Claims, will be dismissed for the reasons stated above. Illinois National (in its

twelfth affirmative defense) and ACE (in its ninth affirmative defense) also assert that

Cushman’s claims are barred by the doctrine of contingent loss/fortuity. Illinois National is

correct that it can assert the fortuity doctrine to disclaim coverage for the Underlying Claims in

addition to its defense based on the Prior Knowledge Exclusion. See Nat’l Union Fire Ins. Co. of

Pittsburgh, PA. v. Stroh Cos., Inc., 265 F.3d 97, 107 (2d Cir. 2001) (noting that “the known loss

defense is distinct from a defense based on policy language excluding coverage for injuries that

were expected or intended by the insured”). Illinois National, however, simply reiterates the

arguments it made with respect to its Prior Knowledge Exclusion defense in support of its

fortuity defense. ACE makes no argument on this point. The “known loss” defense, “requires

consideration of whether, at the time the insured bought the policy . . . the loss was known.”

Stonewall Ins. Co. v. Asbestos Claims Mgmt. Corp., 73 F.3d 1178, 1215 (2d Cir. 1995). The

known loss doctrine does not apply “where an insured merely knows there is a risk of loss, as

knowledge of a risk is the very purpose of acquiring insurance.” Nat’l Union Fire Ins. Co. of

Pittsburgh, Pa. v. Xerox Corp., 792 N.Y.S.2d 772, 785 (N.Y. Sup. Ct. 2004). As discussed in

detail above, at the time the policy was issued, there is no evidence that Cushman knew of

anything more than a risk of loss. Accordingly, Illinois National’s twelfth affirmative defense

and ACE’s ninth affirmative defense are dismissed.

                                  CONCLUSION AND ORDER

        For the foregoing reasons, Cushman’s motion for partial summary judgment (dkt. 221) is

granted in part and denied in part, Illinois National’s motion for partial summary judgment (dkt.

corresponding affirmative defenses include the sixth, seventh, and ninth defenses, and ACE’s
corresponding affirmative defenses include the fourth, fifth, sixth, and twelfth defenses.


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207) is granted in part and denied in part, ACE’s motion for summary judgment (dkt. 210) is

denied, Liberty’s motion for summary judgment (dkt. 203) is denied, and RLI’s motion for

summary judgment (dkt. 220) is denied.

          With respect to the declaratory judgment claims, counts I, III, IV, and V, neither

Endorsement 5 nor the Prior Knowledge Exclusion bars coverage for the Underlying Claims; the

Blixseth Action, Highland Demand, and Rhodes Action are related to the Gibson Action; Illinois

National is entitled to reimbursement of amounts paid in excess of Illinois National’s limit of

$23 million for the 2009–2010 policy year; and ACE, Liberty and RLI must pay, to the extent

the ACE, Liberty, and RLI 2009–2010 Policies are triggered, all amounts incurred in connection

with each Underlying Claim that are in excess of the 2009–2010 Illinois National Policy (as to

ACE) and the 2009–2010 ACE Policy (as to Liberty and RLI), up to their respective Policies’

limits.

          With respect to the breach of contract claims, Illinois National’s motion for summary

judgment is granted as to count VI as well as count XI to the extent this count relates to the

Underlying Claims, and denied as to counts VII and VIII, as well as count XI to the extent this

count relates to the Other Claims. Cushman’s motion for summary judgment is denied as to

count VI. ACE’s motion for summary judgment is denied as to count X. Counts IX and XII were

previously dismissed. (See dkt. 109.)

          Further, Illinois National and ACE’s motions for summary judgment on their respective

counterclaims for recoupment are denied and Cushman’s motion on these counterclaims is

granted. 49 Cushman and Illinois National’s motions for summary judgment on Illinois National’s


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           To the extent such counterclaims refer to reimbursement, the court refers the parties to the
portion of its order related to the declaratory judgment counts.



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declaratory judgment counterclaims are granted in part and denied in part as is consistent with

the reasoning in this opinion. Certain affirmative defenses asserted by Illinois National and ACE

as identified in this opinion (except Illinois National’s ninth defense and ACE’s twelfth defense)

are also dismissed, to the extent they relate to the Underlying Claims. 50 Remaining counts

include count II, count VII, count VIII, count X and count XI to the extent it relates to the Other

Claims.

        The case will be called for status hearing on May 22 at 11:00 a.m. to set a date for trial.

Before the status hearing, the parties are directed to discuss the possibility of settlement.




Date: April 20, 2018                                       _______________________________
                                                           U.S. District Judge Joan H. Lefkow




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           Illinois National has apparently agreed “to stipulate to the dismissal without prejudice (subject
to reinstatement pending the decision of the Gibson appeal) of [Illinois National’s] Eighth Affirmative
Defense raising Exclusion #1 of the Nottingham Policies, which provides that ‘This Policy does not
apply: to any claim alleging intentional wrongdoing, fraud, dishonesty, or criminal or malicious acts of
the Insured’ as well [as] that portion of [Illinois National’s] counterclaim raising Exclusion 1 only.” (Dkt.
225, Pl. Ex. 71.)


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